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                                                                                             7   JOSE GUTIERREZ and ISABEL GUTIERREZ
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                                                                                             9                       UNITED STATES DISTRICT COURT
                                                                                            10                     CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                              SOUTHERN DIVISION
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                                 1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067




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                                                                                            13   JOSE GUTIERREZ and ISABEL                 Case No.:
                                                                                                 GUTIERREZ,
                                                                                            14
                                                                                                                                           Assigned to:
                                                                                            15               Plaintiffs,
                                                                                                                                           Dept.
                                                                                            16         vs.
                                                                                                                                           COMPLAINT FOR VIOLATION
                                                                                            17                                             OF STATUTORY OBLIGATIONS
                                                                                                 FORD MOTOR COMPANY; and DOES
                                                                                            18   1 through 10, inclusive,
                                                                                            19                                             JURY TRIAL DEMANDED
                                                                                                             Defendants.
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                                                                                                                           COMPLAINT; JURY TRIAL DEMANDED
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                                                                                             1         Plaintiffs allege as follows:
                                                                                             2                            JURISDICTION AND VENUE
                                                                                             3         1.     The Court has jurisdiction over this matter because there is minimal
                                                                                             4   diversity as Plaintiffs and Defendants are citizens of different states, with a claim
                                                                                             5   that exceeds the amount in controversy of $75,000, pursuant to 28 U.S.C. § 1332.
                                                                                             6         2.     Pursuant to 28 U.S.C. § 1391(b)(2), venue is proper in the Central
                                                                                             7   District of California because a substantial part of the events or omissions giving
                                                                                             8   rise to the claim occurred within the judicial district, including entering into the
                                                                                             9   warranty contract for and/or repairs of the Subject Vehicle, occurred in Los
                                                                                            10   Angeles County.
                                                                                                       3.     Assignment to the Southern Division of this Court is proper because
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                                                                                            12   all or most of the events giving rise to Plaintiff’s claims, including entering into
                                                                                            13   the warranty contract for and/or repair of the Subject Vehicle giving rise to this
                                                                                            14   lawsuit, occurred in Orange County.
                                                                                            15                             GENERAL ALLEGATIONS
                                                                                            16         4.     As used in this Complaint, the word “Plaintiffs” shall refer to
                                                                                            17   Plaintiffs JOSE GUTIERREZ and ISABEL GUTIERREZ.
                                                                                            18         5.     Plaintiffs are residents of Orange County, California.
                                                                                            19         6.     As used in this Complaint, the word “Defendant” shall refer to all
                                                                                            20   Defendants named in this Complaint.
                                                                                            21         7.     Defendant FORD MOTOR COMPANY (“Defendant FMC”) is a
                                                                                            22   corporation organized and in existence under the laws of the State of Delaware
                                                                                            23   and registered with the California Department of Corporations to conduct business
                                                                                            24   in California. Defendant FMC’s principal place of business is in the State of
                                                                                            25   Michigan. At all times relevant herein, Defendant was engaged in the business of
                                                                                            26   designing, manufacturing, constructing, assembling, marketing, distributing, and
                                                                                            27   selling automobiles and other motor vehicles and motor vehicle components in
                                                                                            28   Orange County, California.
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                                                                                                                         COMPLAINT; JURY TRIAL DEMANDED
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                                                                                             1         8.    Plaintiffs are ignorant of the true names and capacities of the
                                                                                             2   Defendants sued under the fictitious names DOES 1 to 10. They are sued pursuant
                                                                                             3   to Code of Civil Procedure section 474. When Plaintiffs become aware of the true
                                                                                             4   names and capacities of the Defendants sued as DOES 1 to 10, Plaintiffs will
                                                                                             5   amend this Complaint to state their true names and capacities.
                                                                                             6                             FACTUAL BACKGROUND
                                                                                             7         9.    On or about December 21, 2019, in California, Plaintiffs entered into
                                                                                             8   a warranty contract with Defendant FMC regarding a 2019 Ford Transit vehicle
                                                                                             9   identification number NM0LS6E22K1420583 (hereafter "Vehicle"), which was
                                                                                            10   manufactured and/or distributed by Defendant FMC.
                                                                                                       10.   The warranty contract contained various warranties, including but not
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                                                                                            12   limited to the bumper-bumper warranty, powertrain warranty, emission warranty,
                                                                                            13   etc. A true and correct copy of the warranty contract is attached hereto as Exhibit
                                                                                            14   A. The terms of the express warranty are described in Exhibit A and are
                                                                                            15   incorporated herein.
                                                                                            16         11.   Pursuant to the Song-Beverly Consumer Warranty Act (the “Song-
                                                                                            17   Beverly Act”) Civil Code sections 1790 et seq. the Subject Vehicle constitutes
                                                                                            18   "consumer goods” used primarily for family or household purposes, and Plaintiff
                                                                                            19   has used the vehicle primarily for those purposes. Plaintiffs are a “buyer” of
                                                                                            20   consumer goods under the Act. Defendant FMC is a “manufacturer” and/or
                                                                                            21   “distributor” under the Song-Beverly Act.
                                                                                            22         12.   Plaintiffs justifiably revoke acceptance of the Subject Vehicle under
                                                                                            23   Civil Code, section 1794, et seq. by filing this Complaint and/or did so prior to
                                                                                            24   filing the instant Complaint.
                                                                                            25         13.   These causes of action arise out of the warranty obligations of
                                                                                            26   Defendant FMC in connection with a motor vehicle for which Defendant FMC
                                                                                            27   issued a written warranty.
                                                                                            28         14.   Defects and nonconformities to warranty manifested themselves
                                                                                                                                         2
                                                                                                                         COMPLAINT; JURY TRIAL DEMANDED
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                                                                                             1   within the applicable express warranty period, including but not limited to, the
                                                                                             2   electrical system, the transmission; the engine; among other defects and non-
                                                                                             3   conformities.
                                                                                             4         15.    Said defects/nonconformities substantially impair the use, value, or
                                                                                             5   safety of the Vehicle.
                                                                                             6         16. Under the Song-Beverly Act, Defendant FMC had an affirmative duty
                                                                                             7   to promptly offer to repurchase or replace the Subject Vehicle at the time if failed
                                                                                             8   to conform the Subject Vehicle to the terms of the express warranty after a
                                                                                             9   reasonable number of repair attempts. 1
                                                                                            10         17.    Defendant FMC has failed to either promptly replace the Subject
                                                                                                 Vehicle or to promptly make restitution in accordance with the Song-Beverly Act.
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                                                                                            12         18.    Under the Song-Beverly Act, Plaintiffs are entitled to reimbursement
                                                                                            13   of the price paid for the vehicle less that amount directly attributable to use by the
                                                                                            14   Plaintiffs prior to the first presentation to an authorized repair facility for a
                                                                                            15   nonconformity.
                                                                                            16         19.    Plaintiffs are entitled to replacement or reimbursement pursuant to
                                                                                            17   Civil Code, section 1794, et seq. Plaintiffs are entitled to rescission of the contract
                                                                                            18   pursuant to Civil Code, section 1794, et seq. and Commercial Code, section 2711.
                                                                                            19
                                                                                                       1
                                                                                                           “A manufacturer's duty to repurchase a vehicle does not depend on a
                                                                                            20   consumer's request, but instead arises as soon as the manufacturer fails to comply
                                                                                                 with the warranty within a reasonable time. (Krotin v. Porsche Cars North
                                                                                            21   America, Inc. (1995) 38 Cal.App.4th 294, 301-302, 45 Cal.Rptr.2d 10.) Chrysler
                                                                                                 performed the bridge operation on Santana's vehicle in August 2014 with 30,262
                                                                                            22   miles on the odometer—within the three-year, 36,000 mile warranty. The internal
                                                                                                 e-mails demonstrating Chrysler's awareness of the safety risks inherent in the
                                                                                            23   bridge operation were sent in September 2013, and thus Chrysler was well aware
                                                                                                 of the problem when it performed the bridge operation on Santana's vehicle. Thus,
                                                                                            24   Chrysler's duty to repurchase or provide restitution arose prior to the expiration of
                                                                                                 the three-year, 36,000 mile warranty. Moreover, although we do not have the
                                                                                            25   actual five-year, 100,000 mile power train warranty in our record, Santana's expert
                                                                                                 testified that the no-start/stalling issues Santana experienced were within the scope
                                                                                            26   of the power train warranty, which was still active when Santana requested
                                                                                                 repurchase in approximately January 2016, at 44,467 miles. Thus the premise of
                                                                                            27   Chrysler's argument—that Santana's request for repurchase was outside the
                                                                                            28
                                                                                                 relevant warranty—is not only irrelevant, but wrong.” Santana v. FCA US, LLC,
                                                                                                 et al., 56 Cal. App. 5th 334, 270 Cal. Rptr. 3d 335 (2020).
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                                                                                                                          COMPLAINT; JURY TRIAL DEMANDED
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                                                                                             1         20.      Plaintiffs are entitled to recover any “cover” damages under
                                                                                             2   Commercial Code, sections 2711, 2712, and Civil Code, section 1794, et seq.
                                                                                             3         21.      Plaintiffs are entitled to recover all incidental and consequential
                                                                                             4   damages pursuant to 1794 et seq. and Commercial Code, sections 2711, 2712, and
                                                                                             5   2713 et seq.
                                                                                             6         22.      Plaintiffs suffered damages in a sum to be proven at trial in an amount
                                                                                             7   that exceeds $75,000.00.
                                                                                             8         23.      Plaintiffs are entitled to all incidental, consequential, and general
                                                                                             9   damages resulting from Defendants’ failure to comply with its obligations under
                                                                                            10   the Song-Beverly Act and/or Magnuson-Moss Warranty Act.
                                                                                                                TOLLING OF THE STATUTES OF LIMITATION
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                                                                                            12         A.       Class Action Tolling
                                                                                            13         24.      Under the tolling rule articulated in Am. Pipe & Const. Co. v. Utah,
                                                                                            14   414 U.S. 538, 94 S. Ct. 756, 38 L. Ed. 2d 713 (1974) (“American Pipe”), the filing
                                                                                            15   of a class action lawsuit in federal court tolls the statute of limitations for the
                                                                                            16   claims of unnamed class members until the class certification issue is resolved. In
                                                                                            17   applying American Pipe tolling to California cases, the California Supreme Court
                                                                                            18   summarized the tolling rule derived from American Pipe and stated that the statute
                                                                                            19   of limitations is tolled from the time of commencement of the suit to the time of
                                                                                            20   denial of certification for all purported members of the class. Jolly v. Eli Lilly &
                                                                                            21   Co., 44 Cal.3d 1103, 1119 (1988). Tolling lasts from the day a class claim is
                                                                                            22   asserted until the day the suit is conclusively not a class action. Falk v. Children's
                                                                                            23   Hosp. Los Angeles, 237 Cal. App. 4th 1454, 1464 (2015).
                                                                                            24         25.      The tolling of Plaintiffs’ individual statute of limitations encourages
                                                                                            25   the protection of efficiency and economy in litigation as promoted by the class
                                                                                            26   action devise, so that putative class members would not find it necessary to seek to
                                                                                            27   intervene or to join individually because of fear the class might never be certified
                                                                                            28   or putative class members may subsequently seek to request exclusion.
                                                                                                                                           4
                                                                                                                           COMPLAINT; JURY TRIAL DEMANDED
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                                                                                             1         B.     Discovery Rule Tolling
                                                                                             2         26.    Making it even more difficult to discover that the Subject Vehicle’s
                                                                                             3   engine suffered from a safety defect was Defendants’ issuance of various TSBs
                                                                                             4   and Recalls purporting to be able to fix various symptoms of the defects
                                                                                             5         27.    As a result of the foregoing, Plaintiffs did not become suspicious of
                                                                                             6   Defendant’s concealment of the latent defects and its inability to repair them until
                                                                                             7   shortly before the filing of the complaint, when the issues persisted following
                                                                                             8   Defendant’s representations that the Vehicle was repaired, and thus contacted
                                                                                             9   Defendant directly.
                                                                                            10         28.    Plaintiffs always acted diligently in presenting the Subject Vehicle
                                                                                                 for repairs and following the directives of Defendant’s authorized repair
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                                                                                            12   personnel.
                                                                                            13         29.    Defendants were under a continuous duty to disclose to Plaintiffs the
                                                                                            14   true character, quality, and nature of the Defendant Vehicles’ suffering from
                                                                                            15   defects, and the inevitable repairs, costs, time, and monetary damage resulting
                                                                                            16   from the defects. Due in part to Defendant’s failure to do so, Plaintiffs were unable
                                                                                            17   to discover Defendant’s wrongful conduct alleged herein until the issues persisted
                                                                                            18   following Defendants attempts to conform the Vehicle to its warranties.
                                                                                            19         30.    Plaintiffs discovered Defendants’ wrongful conduct alleged herein
                                                                                            20   shortly before the filing of the complaint, when Plaintiffs requested a buyback
                                                                                            21   and/or restitution of the Subject Vehicle from Defendant FMC as the Vehicle
                                                                                            22   continued to exhibit symptoms of defects following Defendant FMC’s unsuccessful
                                                                                            23   attempts to repair them. However, Defendant FMC failed to provide restitution
                                                                                            24   pursuant to the Song-Beverly Consumer Warranty Act and/or Magnuson-Moss
                                                                                            25   Warranty Act.
                                                                                            26         C.     The Repair Doctrine
                                                                                            27         31.    The statute of limitations is tolled by various unsuccessful attempts
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                                                                                                                         COMPLAINT; JURY TRIAL DEMANDED
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                                                                                             1   to repair the vehicle. 2
                                                                                             2          32.    Additionally, the limitations period for warranty claims is tolled
                                                                                             3   against a defendant whenever that Defendant claims that the defect is susceptible
                                                                                             4   to repair and attempts to repair the defect. 3
                                                                                             5          33.    Here, Defendant undertook to perform various transmission system
                                                                                             6   repairs and issued various engine cooling system-related repair measures in the
                                                                                             7   form of TSBs and recalls. During the time in which Defendant represented to
                                                                                             8   Plaintiffs that the Vehicle was fixable and attempted to fix it, the warranty period
                                                                                             9   may thus have been tolled.
                                                                                            10          D.     Fraudulent Concealment Tolling (Estoppel)
                                                                                                        34.    Separately, the statute of limitations is equitably tolled due to
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                                                                                            12   Defendant’s fraudulent conduct alleged herein. 4
                                                                                            13          35.    Defendants concealed the defect, minimized the scope, cause, and
                                                                                            14   dangers of the Defect with inadequate recalls, and refused to investigate, address,
                                                                                            15   and remedy the Defect as it pertains to all Defendant Vehicles as set forth herein.
                                                                                            16
                                                                                                        2
                                                                                                         See Aced v. Hobbs–Sesack Plumbing Co., 55 Cal.2d 573, 585 (1961) (“The
                                                                                            17   statute of limitations is tolled where one who has breached a warranty claims that
                                                                                                 the defect can be repaired and attempts to make repairs.”) and A&B Painting &
                                                                                            18   Drywall, Inc. v. Sup. Ct., 25 Cal.App.4th 349, 355 (2002) (“Tolling during a period
                                                                                                 of repairs rests upon the same basis as does an estoppel to assert the statute of
                                                                                            19   limitations, i.e., reliance by the plaintiff upon the words or actions of the defendant
                                                                                                 that repairs will be made.”).
                                                                                            20
                                                                                                        3
                                                                                                          “Tolling during a period of repairs generally rests upon the same legal
                                                                                            21   basis as does an estoppel to assert the statute of limitations, i.e., reliance by the
                                                                                                 plaintiff on the words or actions of the defendant that repairs will be made.”
                                                                                            22   Cardinal Health 301, Inc., supra, 169 Cal.App.4th at pp. 133–34.
                                                                                            23          4
                                                                                                          Silence, when there is a duty to speak, may be the basis for equitable
                                                                                                 estoppel. See Dettamanti v. Lompoc Union High School Dist. of Santa Barbra
                                                                                            24   County, 143 Cal. App. 2d 715, 720 (1956) (“The basis for an estoppel may be
                                                                                                 found in the failure of the party sought to be estopped to speak when he is under a
                                                                                            25   duty to speak as well as in his speaking falsely and in a manner which tends to
                                                                                                 deceive.”). Estoppel to plead the statute of limitations is a well-accepted doctrine
                                                                                            26   under California law. See 3 Witkin Cal. Proc. 4th § 693 at 885 (“‘[T]he fraudulent
                                                                                                 concealment by the defendant of the facts upon which the existence of which the
                                                                                            27   cause of action depends tolls the statute,’ and that the statute does not begin to run
                                                                                                 until discovery . . . .’” (quoting Kimball v. Pacific Gas & Elec. Co., 220 Cal. 203,
                                                                                            28   215 (1934)).
                                                                                                                                            6
                                                                                                                            COMPLAINT; JURY TRIAL DEMANDED
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                                                                                             1         36.    Plaintiffs discovered Defendants’ wrongful conduct alleged herein
                                                                                             2   shortly before the filing of the complaint, when Plaintiffs requested a buyback
                                                                                             3   and/or restitution of the Subject Vehicle from Defendant FMC as the Vehicle
                                                                                             4   continued to exhibit symptoms of defects following Defendant FMC’s unsuccessful
                                                                                             5   attempts to repair them. However, Defendant FMC failed to provide restitution
                                                                                             6   pursuant to the Song-Beverly Consumer Warranty Act and/or Magnuson-Moss
                                                                                             7   Warranty Act.
                                                                                             8         37.    Based on the foregoing, Defendants are estopped from relying on any
                                                                                             9   statutes of limitations in defense of this action.
                                                                                            10                              FIRST CAUSE OF ACTION
                                                                                                                BY PLAINTIFFS AGAINST DEFENDANT FMC
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                                                                                            12         VIOLATION OF SUBDIVISION (D) OF CIVIL CODE § 1793.2
                                                                                            13         38.    Plaintiffs incorporate by reference the allegations contained in the
                                                                                            14   paragraphs set forth above.
                                                                                            15         39.    Defendant FMC and its representatives in this state have been unable
                                                                                            16   to service or repair the Vehicle to conform to the applicable express warranties
                                                                                            17   after a reasonable number of opportunities. Despite this fact, Defendant failed to
                                                                                            18   promptly replace the Vehicle or make restitution to Plaintiffs as required by Civil
                                                                                            19   Code section 1793.2, subdivision (d) and Civil Code section 1793.1, subdivision
                                                                                            20   (a)(2).
                                                                                            21         40.    Plaintiffs have been damaged by Defendant's failure to comply with
                                                                                            22   its obligations pursuant to Civil Code section 1793.2, subdivision (d) and Civil
                                                                                            23   Code section 1793.1, subdivision (a)(2), and therefore brings this cause of action
                                                                                            24   pursuant to Civil Code section 1794.
                                                                                            25         41.    Defendant's failure to comply with its obligations under Civil Code
                                                                                            26   section 1793.2, subdivision (d) was willful, in that Defendant and its representative
                                                                                            27   were aware that they were unable to service or repair the Vehicle to conform to
                                                                                            28   the applicable express warranties after a reasonable number of repair attempts, yet
                                                                                                                                          7
                                                                                                                          COMPLAINT; JURY TRIAL DEMANDED
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                                                                                             1   Defendant failed and refused to promptly replace the Vehicle or make restitution.
                                                                                             2   Accordingly, Plaintiffs are entitled to a civil penalty of two times Plaintiffs’ actual
                                                                                             3   damages pursuant to Civil Code section 1794, subdivision (c).
                                                                                             4         42.    Defendant does not maintain a qualified third-party dispute resolution
                                                                                             5   process which substantially complies with Civil Code section 1793.22.
                                                                                             6   Accordingly, Plaintiffs are entitled to a civil penalty of two times Plaintiffs’ actual
                                                                                             7   damages pursuant to Civil Code section 1794, subdivision (e).
                                                                                             8         43.    Plaintiffs seek civil penalties pursuant to section 1794, subdivisions
                                                                                             9   (c), and (e) in the alternative and does not seek to cumulate civil penalties, as
                                                                                            10   provided in Civil Code section 1794, subdivision (f).
                                                                                                                          SECOND CAUSE OF ACTION
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                                                                                            12                  BY PLAINTIFFS AGAINST DEFENDANT FMC
                                                                                            13         VIOLATION OF SUBDIVISION (B) OF CIVIL CODE § 1793.2
                                                                                            14         44.    Plaintiffs incorporate by reference the allegations contained in the
                                                                                            15   paragraphs set forth above.
                                                                                            16         45.    Although     Plaintiffs   presented    the   Vehicle    to   Defendant's
                                                                                            17   representative in this state, Defendant and its representative failed to commence
                                                                                            18   the service or repairs within a reasonable time and failed to service or repair the
                                                                                            19   Vehicle so as to conform to the applicable warranties within 30 days, in violation
                                                                                            20   of Civil Code section 1793.2, subdivision (b). Plaintiffs did not extend the time
                                                                                            21   for completion of repairs beyond the 30-day requirement.
                                                                                            22         46.    Plaintiffs have been damaged by Defendant's failure to comply with
                                                                                            23   its obligations pursuant to Civil Code section 1793.2(b), and therefore brings this
                                                                                            24   Cause of Action pursuant to Civil Code section 1794.
                                                                                            25         47.    Plaintiffs have rightfully rejected and/or justifiably revoked
                                                                                            26   acceptance of the Vehicle, and has exercised a right to request a buyback. By
                                                                                            27   serving this Complaint, Plaintiffs do so again. Accordingly, Plaintiffs seek the
                                                                                            28   remedies provided in California Civil Code section 1794(b)(1), including the
                                                                                                                                          8
                                                                                                                          COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1   entire value of the Vehicle. In the alternative, Plaintiffs seek the remedies set forth
                                                                                              2   in California Civil Code section 1794(b)(2), including the diminution in value of
                                                                                              3   the Vehicle resulting from its defects. Plaintiffs believes that, at the present time,
                                                                                              4   the Vehicle’s value is de minimis.
                                                                                              5         48.    Defendant FMC’S failure to comply with its obligations under Civil
                                                                                              6   Code section 1793.2(b) was willful, in that Defendant FMC and its representative
                                                                                              7   were aware that they were obligated to service or repair the Vehicle to conform to
                                                                                              8   the applicable express warranties within 30 days, yet they failed to do so.
                                                                                              9   Accordingly, Plaintiffs are entitled to a civil penalty of two times Plaintiffs’ actual
                                                                                             10   damages pursuant to Civil Code section 1794(c).
                                                                                                                            THIRD CAUSE OF ACTION
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                                                                                             12                  BY PLAINTIFFS AGAINST DEFENDANT FMC
                                                                                             13        VIOLATION OF SUBDIVISION (A)(3) OF CIVIL CODE § 1793.2
                                                                                             14         49.    Plaintiffs incorporate by reference the allegations contained in
                                                                                             15   paragraphs set forth above.
                                                                                             16         50.    In violation of Civil Code section 1793.2, subdivision (a)(3),
                                                                                             17   Defendant failed to make available to its authorized service and repair facilities
                                                                                             18   sufficient service literature and replacement parts to effect repairs during the
                                                                                             19   express warranty period. Plaintiffs have been damaged by Defendant's failure to
                                                                                             20   comply with its obligations pursuant to Civil Code section 1793.2(a)(3), and
                                                                                             21   therefore brings this Cause of Action pursuant to Civil Code section 1794.
                                                                                             22         51.    Defendant's failure to comply with its obligations under Civil Code
                                                                                             23   section 1793.2, subdivision (a)(3) was wilful, in that Defendant knew of its
                                                                                             24   obligation to provide literature and replacement parts sufficient to allow its repair
                                                                                             25   facilities to effect repairs during the warranty period, yet Defendant failed to take
                                                                                             26   any action to correct its failure to comply with the law. Accordingly, Plaintiffs are
                                                                                             27   entitled to a civil penalty of two times Plaintiffs’ actual damages; pursuant to Civil
                                                                                             28   Code section 1794(c).
                                                                                                                                           9
                                                                                                                           COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1                           FOURTH CAUSE OF ACTION
                                                                                              2                 BY PLAINTIFFS AGAINST DEFENDANT FMC
                                                                                              3     BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                                                                                              4                     (CIVIL CODE, § 1791.1; § 1794; § 1795.5)
                                                                                              5         52.   Plaintiffs incorporate by reference the allegations contained in the
                                                                                              6   paragraphs set forth above.
                                                                                              7         53.   Pursuant to Civil Code section 1792, the sale of the Vehicle was
                                                                                              8   accompanied by Defendant's implied warranty of merchantability. Pursuant to
                                                                                              9   Civil Code section 1791.1, the duration of the implied warranty is coextensive in
                                                                                             10   duration with the duration of the express written warranty provided by Defendant,
                                                                                                  except that the duration is not to exceed one-year.
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                                                                                             12         54.   Pursuant to Civil Code section 1791.1 (a), the implied warranty of
                                                                                             13   merchantability means and includes that the Vehicle will comply with each of the
                                                                                             14   following requirements: (1) The Vehicle will pass without objection in the trade
                                                                                             15   under the warranty contract description; (2) The Vehicle is fit for the ordinary
                                                                                             16   purposes for which such goods are used; (3) The Vehicle is adequately contained,
                                                                                             17   packaged, and labelled; (4) The Vehicle will conform to the promises or
                                                                                             18   affirmations of fact made on the container or label.
                                                                                             19         55.   At the time of entering into the warranty contract, or within one-year
                                                                                             20   thereafter, the Vehicle contained or developed the defects set forth above. The
                                                                                             21   existence of each of these defects constitutes a breach of the implied warranty
                                                                                             22   because the Vehicle (1) does not pass without objection in the trade under the
                                                                                             23   warranty contract description, (2) is not fit for the ordinary purposes for which
                                                                                             24   such goods are used, (3) is not adequately contained, packaged, and labelled, and
                                                                                             25   (4) does not conform to the promises or affirmations of fact made on the container
                                                                                             26   or label.
                                                                                             27         56.   Plaintiffs have been damaged by Defendant's failure to comply with
                                                                                             28   its obligations under the implied warranty, and therefore brings this Cause of
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                                                                                                                          COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1   Action pursuant to Civil Code section 1794.
                                                                                              2                                      PRAYER
                                                                                              3         PLAINTIFFS PRAY for judgment against Defendant as follows:
                                                                                              4            a.    For general, special, and actual damages according to proof;
                                                                                              5            b.    For restitution;
                                                                                              6            c.    For any consequential and incidental damages;
                                                                                              7            d.    For reimbursement and/or restitution of all monies expended;
                                                                                              8            e.    For diminution in value;
                                                                                              9            f.    For a civil penalty in the amount of two times Plaintiffs’ actual
                                                                                             10                  damages pursuant to Civil Code section 1794, subdivision (c) or
                                                                                                                 (e);
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                                                                                             12            g.    For prejudgment interest at the legal rate;
                                                                                             13            h.    For costs of the suit and Plaintiff’s reasonable attorneys’ fees
                                                                                             14                  pursuant to Civil Code section 1794, subdivision (d); and
                                                                                             15            i.    For such other relief as the Court may deem proper.
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                                                                                                                         COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1                           DEMAND FOR JURY TRIAL
                                                                                              2         Plaintiffs hereby demand a jury trial on all causes of action asserted herein.
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                                                                                                  Dated: June 29, 2022            STRATEGIC LEGAL PRACTICES, APC

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                                                                                                                                  BY: _________/s/ Tionna Dolin__________
                                                                                                                                        TIONNA DOLIN Attorneys
                                                                                              8                                         for Plaintiffs, JOSE
                                                                                                                                        GUTIERREZ and ISABEL
                                                                                              9                                         GUTIERREZ

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